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CGFD107 (12/01/20)




ORDERED in the Southern District of Florida on April 25, 2024




                                                                                                  Mindy A Mora
                                                                                                  United States Bankruptcy Judge



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                 Case Number: 24−13938−MAM
                                                                                                                 Chapter: 11
In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
TGP Communications, LLC
aka The Gateway Pundit
1820 NE Jensen Beach Blvd
Unit 1120
Jensen Beach, FL 34957

EIN: 46−4161586


       ORDER AUTHORIZING DEBTOR IN POSSESSION TO CONTINUE
  OPERATION OF ITS BUSINESS, CLOSE PRE−PETITION BANK ACCOUNTS, AND
             OPEN DEBTOR IN POSSESSION BANK ACCOUNTS


   THIS MATTER came before the Court upon the petition filed on April 24, 2024. This Court, finds that,
pending further order of this Court, the Debtor−in−Possession should be authorized to operate its business
and substitute debtor−in−possession bank accounts for its pre−petition bank accounts, in accordance with
§§1107 and 1108, or §1184, as applicable, of Title 11, United States Code. Accordingly, it is

    ORDERED that:

   (a)      The Debtor, as Debtor−in−Possession, is authorized and allowed to remain in full operation of its
            business and to manage its property as a debtor−in−possession, consistent with all applicable
            provisions of Chapter 11 of Title 11 of the United States Code, until further order of this Court.

   (b)      Unless otherwise ordered by the Court, the Debtor, as Debtor−in−Possession, must close the
            existing bank accounts of the Debtor and open new accounts in the name of the
            Debtor−in−Possession. All deposits or investments of money of the estate must be made in
            accordance with 11 U.S.C. §345.


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The Clerk of the Court is directed to service this Order on All Parties in Interest.
